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 5                                UNITED STATES DISTRICT COURT

 6                                       DISTRICT OF ARIZONA

 7   Jeanette Thompson,                         )
                                                )
 8                         Plaintiff,           )
                                                )     CASE NO. 13-cv-00040-CKJ
 9          v.                                  )
                                                )
10   Comenity Capital Bank f/k/a World          )
     Financial Capital Bank, John Doe           ) ORDER RE: JOINT MOTION TO DISMISS
11   Corporation, and Alliance Data Systems     )
     Corporation,                               )
12                                              )
                           Defendants.          )
13                                              )
14
            The Court has reviewed the Joint Motion of Plaintiff JEANNETTE
15
     THOMPSON and Defendants COMENITY CAPITAL BANK f/k/a WORLD
16
     FINANCIAL          CAPITAL          BANK    and    ALLIANCE         DATA     SYSTEMS,
17
     CORPORATION. Good cause appearing,
18
            IT IS ORDERED:
19
            1.       The Joint Motion to Dismiss (Doc. 35) is GRANTED.
20
            2.       This action is dismissed with prejudice as to Plaintiff JEANNETTE
21
     THOMPSON and dismissed without prejudice as to the putative class members,
22

23
     pursuant to FRCP 41(a)(1)(A(ii).

24          3.       The parties shall bear their respective attorneys’ fees and costs.
25          4.       The Clerk of Court shall close its file in this matter.
26          Dated this 5th day of February, 2014.
27

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